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                              UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS

 GEORGE PAPPAS, individually and as the              )
 representative of a class of similarly-situated     )
 persons,                                            )
                         Plaintiff,                  )
                v.                                   ) Civil Action No. 1:20-cv-06067
                                                     )
 HAMDI, INC., an Illinois corporation, and           ) Hon. Jorge L. Alsonso
 DPPPMG LLC, PITA PITA PREP LLC, PITA                )
 PITA HOFFMAN ESTATES, LLC, and PITA                 )
 PITA LOMBARD, LLC, Illinois limited                 )
 liability companies,                                )
                                                     )
                        Defendants.                  )

                           JOINT STIPULATION OF DISMISSAL

       Pursuant to Fed. R. Civ. Proc. 41(a)(1)(A)(ii), Plaintiff, GEORGE PAPAS, and

Defendants, HAMDI, INC., DPPPMG LLC, PITA PITA PREP LLC, PITA PITA HOFFMAN

ESTATES, LLC, and PITA PITA LOMBARD, LLC., hereby stipulate to the dismissal of this

action with prejudice as to Plaintiff’s individual claims, class allegations without prejudice, each

side to bear its own costs and attorney fees.

Dated: July 6, 2021

PLAINTIFF:                                         DEFENDANTS:

 /s/ Ryan M. Kelly                                  /s/ Charles A. Silverman
 Ryan M. Kelly                                      Charles A. Silverman
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                                       CERTIFICATE OF SERVICE

          I hereby certify that on July 6, 2021, I electronically filed the foregoing with the Clerk of

the Court using the CM/ECF system which will send notification of such filing to all attorneys of

record.

                                                         s/ Ryan M. Kelly
